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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 BRIAN KAREM,


                Plaintiff,

      v.                                                      Case No. 1:19-cv-02514-KBJ

 DONALD J. TRUMP, in his official capacity as
 President of the United States and in his individual
 capacity; and STEPHANIE GRISHAM, in her
 official capacity as White House Press Secretary and
 in her individual capacity,

                Defendants.


                             RESPONSE TO DEFENDANTS’ NOTICE

       Brian Karem respectfully submits this response to Defendants’ shifting story concerning

the “statement” they claim to have obtained from a Secret Service agent who witnessed the

events in the Rose Garden on July 11, 2019. See Notice (ECF No. 25).

       Like the Court, Mr. Karem had understood Defendants’ repeated mentions of the

“statement” from the Secret Service agent as referring to some sort of written report—either a

formal incident report, a declaration, or an informal email or summary of what had happened.

See, e.g., Boutrous Decl. Ex. 10 at 2 n.9 (“I have relied on the Secret Service agent’s statement”);

Compl. ¶ 60 (“At that meeting, the deputy White House counsel informed Karem’s counsel that

Grisham intended to rely on a witness statement obtained from a Secret Service official who

observed the July 11 events.”); Opp. Br. at 32 (“Plaintiff also complains that he was not

provided the complete statement and identity of the Secret Service agent who intervened”); id. at

33 (“[t]he Press Secretary also relied on the agent’s statement”). This morning, however,
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Defendants revealed that what they meant by a “statement” was actually the notes taken by the

attorney in the White House counsel’s office who interviewed the agent.

       This change of position does not mitigate the due process problem—indeed by leaving

the misimpression with Mr. Karem and the Court that they had obtained a “statement” when they

really had not done so makes the problem even worse. Moreover, Defendants have never

claimed the notes are privileged. Nor could they. “[S]ubstantially verbatim witness statements

contained in interview memoranda that have not been ‘sharply focused or weeded’ by an

attorney” are considered “‘fact’ rather than ‘opinion’ work-product” and are subject to discovery

when need is shown. United States ex rel. Landis v. Tailwind Sports Corp., 303 F.R.D. 419, 425

(D.D.C. 2014) (interview memoranda discoverable where “statements given to FBI agents and

other criminal investigators—much like the witnesses’ sworn grand jury testimony discussed

below—are critical sources of evidence for both sides” (emphasis in original)). To the extent

any portion of the attorney’s notes contain “opinion” work product, such portions could have

been redacted.

       Even if the notes had been privileged, the White House’s selective disclosure—relying on

portions of the notes they deem helpful to their case—vitiated the privilege. See Baylor v.

Mitchell Rubenstein & Assocs., P.C., 2015 WL 4624090, at *2 (D.D.C. July 31, 2015), aff’d, 857

F.3d 939 (D.C. Cir. 2017). Defendants disclosed what they claim to be the contents of the

agent’s account in both their letter suspending Mr. Karem’s hard pass, see, e.g., Boutrous Decl.

Ex. 10 at 2 n.9, 4, and before this Court, see Opp. Br. at 33. And even if Defendants could claim

work-product privilege in the notes, that qualified privilege would be overcome by the

substantial need for this critical piece of evidence before the suspension and because Mr. Karem

has no other way to obtain the unidentified agent’s account. See Fed. R Civ. P. 26(b)(3)(A).




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Dated: August 28, 2019                    Respectfully submitted,

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